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                                                24-5538-CV

                                UNITED STATES COURT OF APPEALS
                                       FOR THE NINTH CIRCUIT

                                          NEO4], INC., ET AL.,
                                                              Plaints s-Appellees,
                                                     v.
                                              SUHY, ET AL.,
                                                             Defendants-Appellants.


                     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA.


              BRIEF OF SOFTWARE FREEDOM CONSERVANCY, INC. AS AMICUS
                    CURIAE IN SUPPORT OF DEFENDANTS-APPELLANTS


                   Aaron Williamson
                   Williamson Legal PLLC
                   1421 18th Ave. N
                   St. Petersburg, FL 33704
                   +1-773-727-8363

                   Richard G. Sanders
                   Software Freedom Conservancy, Inc.
                   1831 12th Ave. s., Ste. 164
                   Nashville, TN 37203
                   +1-615-734-0770

                   Attorneys for Amicus Curiae
                   Software Freedom Conservancy, Inc.
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                                        DISCLOSURE STATEMENT

                     Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure,

             Software Freedom Conservancy, Inc., by and through its undersigned counsel,

             hereby certifies that it is a nonprofit corporation with no parent corporation and no

             stockholders .

                                                             s/Aaron Williamson
                                                      Aaron Williamson
                                                      Williamson Legal PLLC
                                                      Attorney for Software Freedom
                                                      Conservancy, Inc.
                                                      1421 18th Ave. N
                                                      St. Petersburg, FL 33704
                                                      +1-773-727-8363




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                                       STATEMENT OF INTEREST

                    Software Freedom Conservancy ("sec")1 is a nonprofit organization

             centered around ethical technology. Its mission is to ensure the right to repair,

             improve, and reinstall software. SFC promotes and defends these rights through

             fostering free and open source software ("FOSS") projects, driving initiatives that

             actively make technology more inclusive, and advancing policy strategies that

             defend FOSS, including the use of "copyleft" public licenses such as the one at

             issue in this case, the Affero GNU General Public License ("AGPL"), as well as

             several other GNU General Public Licenses that share the same terms as those at

             issue in this case. SFC also fosters software freedom by serving as fiscal sponsor to

             over three dozen FOSS projects, some of which use the AGPL and its close

             relatives, the GNU General Public License ("GPL") and the GNU Lesser General

             Public License ("LGPL"), to license their software.

                    The AGPL and other copyleft public licenses are instrumental to the

             community of FOSS users, developers, and organizations that SFC serves. Because

             the AGPL is used by thousands of FOSS projects, its interpretation and application



             1 Neither party's counsel authored any part of this brief. Neither the parties nor
             their counsel contributed financial support intended to fund the preparation or
             submission of the brief. No other individuals or organizations contributed financial
             support intended to fund the preparation or submission of the brief.

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             have wide-ranging impacts far beyond this case. SFC's interest in this case is to

             ensure that this important license is applied in a way that is true to the text and

             purpose of the license, serves the needs of the FOSS community, and is consistent

             with applicable precedent.


                    SFC files this brief pursuant to Rule 29(a) of the Federal Rules of Appellate

             Procedure and upon the accompanying Motion for Leave to File Amicus Brief.




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                                              INTRODUCTION

                    The case before this Court is not merely one of contractual interpretation, it

             touches the very heart of the global movement for software freedom a movement

             built on the idea that software is not simply a commodity to be owned, but a tool

             for empowerment and equality. At the center of this movement stand the GNU

             General Public Licenses ("GPLs"), legal instruments of exceptional significance

             that guarantee software freedom for software users and developers, just as the

             United States Constitution guarantees liberties to all. Like the Constitution itself,

             the GPL is more than just text, it has a spirit an animating force that brings

             liberty to millions of software users and developers across the world. The

             Plaintiffs-Appellees in this case have wielded one of these licenses, the GNU

             Affero General Public License version 3 ("AGPLv3")2 in a manner contrary to its

             text and spirit. In blessing the Plaintiffs-Appellees' self-contradictory license, the

             lower court's opinion threatens to undermine the purpose and utility of the this and

             other GPLs for millions of authors and software users worldwide.




             2 Except where a specific version number is referenced, the abbreviations "AGPL"
             and AGPLv3" are used interchangeably in this brief to refer to AGPLv3. Likewise,
             "GPL" is used to refer to GPLv3 and "LGPL" to LGPLv3 unless otherwise
             specified. The Preamble is effectively identical in relevant part across all three of
             these licenses.

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             1.     The GPL inspired the global software freedom movement.

                    The movement for software freedom is at once vastly transformative yet

             almost invisible to many. So much of what we take for granted today and hope for

             tomorrow     the Internet, cloud computing, integration of computers into consumer

             devices, smartphones, video streaming relies, to a large extent, on the fruits of

             this movement. At its heart, this movement champions the belief that technology

             should be open, accessible, and empowering to all, rather than controlled by a few

             corporations or powerful entities. This charismatic vision is perhaps most clearly

             embodied in the preamble to the flagship GPL, the GNU General Public License

             version 3 ("GPLv3"), which has quietly served as a catalyst for a global revolution

             in software development and usage.

                    The preamble to the GPLv3 is not only a legal instrument but an inspiring

             call to action. It challenges us to think about the future of technology in a way that

             diverges from the practices of the past, promoting a vision where freedom and

             cooperation drive innovation instead of secrecy and monopolistic control. The

             words of the preamble remind us that the software we build and use shapes our

             future in profound ways, and that we have the power and responsibility to

             shape that future in a direction that benefits society as a whole.

                    As the preamble makes clear, the purpose of the GPLs is to establish a

             software ecosystem not only free in price but free in principle. Its very structure is
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             a guarantee of four fundamental freedoms: the freedom to run the licensed

             software for any purpose, to study and modify the software, to redistribute the

             software, and to share modified versions of the software. These freedoms are the

             foundation of the GPLs, and they have been preserved in every version since its

             inception in 1989, culminating in GPLv3. This license, along with its close

             companions, the GNU Lesser General Public License version 3 ("LGPLv3") and

             AGPLv3, has become the cornerstone of the development of free and open-source

             software ("FOSS"),3 which is now ubiquitous wherever software is used.

                    These licenses are the work of many hands. The first versions were largely

             the brainchild of Richard Stallman and the Free Software Foundation, which

             fostered the free software movement in its infancy. GPLv3, however, was co-

             created by stakeholders from throughout the FOSS community. This public




             3 AGPLv3 is the fourth-most commonly used FOSS license worldwide. See
             Innovation Graph-Licenses: License Rankings Globally, GitHub,
             https ://innovationgraph. github.com/global-metrics/licenses#license-rankings (last
             visited Dec. 27, 2024). GPLv3 is the third-most commonly used license. Id. In the
             US alone, these licenses together were used by 65,815 software authors on the
             popular code-hosting platform GitHub during the first quarter of 2024. GitHub
             Innovation Graph License Data, GitHub,
             https://github.com/github/innovationgraph/blob/main/data/licenses.csv (last visited
             Dec. 27, 2024).

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             drafting process sought and incorporated the input of the world's largest

             technology companies and grassroots free software developer communities

                    The GPLs are therefore not merely legal contracts, they collectively function

             as a social contract that defines the relationships between developers, users, and

             technology. At their core, the GPLs establish a covenant grounded in shared

             values: freedom, collaboration, and the collective good. By choosing to release

             software under a GPL, developers make a conscious commitment to ensuring that

             their work remains open and accessible, enabling others to contribute, modify, and

             improve upon it. This creates a virtuous cycle of knowledge-sharing and mutual

             benefit, where technology evolves not through proprietary control but through

             community effort and collective ownership. Remarkably, many developers




             4 The GPLv3 drafting process included a comment process open to the general
             public as well as four specialized committees to give more involved input and
             feedback. Partial lists of the members of the four committees responsible for
             drafting GPLv3 were published by the Free Software Foundation. See Free
             Software Foundation, Committee A Members, https://gplv3.fsf.org/discussion-
             committees/A/committee-A-bios/ (last visited Jan. 10, 2025), Free Software
             Foundation, Members of Committee B, https://gplv3.fsf.org/discussion-
             committees/B/memberlist/ (last visited Jan. 10, 2025), Free Software Foundation,
             Members of Committee C, https://gplv3.fsf.org/discussion-
             committees/C/memberlist-public/ (last visited Jan. 10, 2025), Free Software
             Foundation, Committee D Members, https://gplv3.fsf.org/discussion-
             committees/D/members/ (last visited Jan. 10, 2025).

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             perform this work on a volunteer basis, self-organizing into voluntary collectives,

             all for the common good and the satisfaction of solving interesting problems in

             code. The GPL, therefore, establishes a social framework where participants

             respect and uphold the principles of software freedom, worldng together to build

             tools that serve the public interest rather than private profit. In this way, the GPL

             transcends its legal structure, fostering a culture of trust, cooperation, and social

             responsibility that has enabled transformative innovations across the globe.

             11.    The GPL is the cornerstone of a collaborative software development

                    revolution that has reshaped the modern IT economy.

                    The impact of the GPL cannot be overstated. It has shaped the development

             of revolutionary software, including the Linux-based operating systems, and has

             been instrumental in the proliferation of free software worldwide. The GPL has

             fostered a community where the sharing of knowledge and code is the standard

             where software is not hoarded but distributed freely, so all may benefit. By 2005 ,

             the GPL had emerged as the most important software license of its time, and its

             evolution into GPLv3, released in 2007,5 fortified its mission with added

             protections against emerging threats to user freedoms that were not foreseen when




             5 See Free Software Foundation, Welcome to GPLv3, https://gplv3.flsfl.org/ (last
             visited Jan. 10, 2025).

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             their forebears (version 2 of the same licenses) were drafted years before. Today,

             software licensed under the GPLv3 family of licenses is used by millions of people

             around the world.

                    Thanks to the GPLs, communities of developers and users have come

             together to build alternatives to proprietary software that have fundamentally

             altered the landscape of computing. Perhaps one of the most well-known and far-

             reaching successes is the Android operating system, which is built on the Linux

             kernel, a product of one of the GPLs. Android now powers billions of devices

             around the world, enabling people to access information, communicate, and

             innovate in ways that were once unimaginable This is just one example of how

             the GPLs have made possible software that is not only widespread, but

             transformative •


                    Another remarkable example is Debian, a free operating system based upon

             Linux that forms the backbone of much of the modem information technology

             infrastructure. Debian's development is entirely community-driven, with thousands

             of volunteers contributing their time, sldlls, and knowledge to its evolution.7



             6 Sameer Sam at, Living in a multi-device world with Android, Google,
             https://blog.google/products/android/i022-multideviceworld/ (May 11, 2022).
             7 See Debian Developers ' Corner, Debian, https://www.debian.org/devel/ (last
             visited Jan. 10, 2025).

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             Contributors to Debian do so under a social contract committed to software

             freedom and must even pass a test that ensures they understand the principles of

             software freedom to participate in the project's governance a testament to the

             project's commitment to maintaining the integrity of its values. It is this land of

             collaboration and shared responsibility that has helped shape the very foundations

             of the internet and global computing as we know it today.

                    These examples demonstrate that the GPLs are not just licenses, they form

             the foundations of a movement that has enabled communities to build remarkable,

             world-changing alternatives to proprietary software. GPL-licensed software

             underpins much of the modem world. As we stand at the crossroads of a rapidly

             evolving technological landscape, it is vital that we recognize and protect the

             values embodied in the GPLs, which continue to drive the most inclusive,

             innovative, and empowering aspects of modern computing.

             III.   The lower court's opinion threatens to undermine the GPL and the

                    entire movement it has inspired.

                    The case before this Court threatens to undo much of what the GPLs were

             designed to protect. The lower court's ruling, which allows the AGPL's

             fundamental purpose to be circumvented by legal sleight of hand, undermines the

             very freedoms that have made the GPLs a pillar of the software world. See l-ER-3 ,

             3-38. The ruling allows for a reversal of these freedoms by permitting a party to
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             invoke the AGPL's language and preamble while effectively discarding its soul

             and undermining the work of thousands of developers. Because the language at

             issue in the AGPL is shared among all of the GPL licenses, the district court's

             ruling, if left to stand, could have serious repercussions for software freedom.

                    The AGPL's purpose is to make software free not only in terms of price but

             in terms of principle: free as in "freedom" not only free as in "free beer." A key

             element of this freedom is the freedom to sell the software. In the words of the

             preamble, the "General Public Licenses are designed to make sure that you have

             the freedom to distribute copies of free software (and charge for them if you wish),

             that you receive source code or can get it if you want it, that you can change the

             software or use pieces of it in new free programs, and that you know you can do

             these things." 3-ER-478, 478. The AGPL itself ensures these freedoms by giving

             licensees the right to remove any "further restrictions" that would impinge upon

             them. 3-ER-488, 496. Yet, the lower court's judgment would override this essential

             freedom by reading it out of the AGPL (and many other GPLs in the process).

                    The Court need not allow the purpose of the AGPL and the work of those

             who rely upon it to be nullified so heedlessly. Instead, it can uphold the license's

             plain meaning and fundamental principles, ensuring that the AGPL continues to

             serve its vital mission of protecting freedom in the software world. The Plaintiffs-

             Appellees could have easily avoided undermining these principles by merely

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             drafting a license that achieved their goals. Instead, they tacked on separate terms

             that contradict the spirit and terms of the GPLs, thereby incorporating insincere

             appeals to freedom and self-contradicting terms, and trading on the AGPL's well-

             deserved goodwill. We urge the Court to interpret the AGPL in a manner that

             respects both its letter and its spirit, protecting the freedoms it guarantees and

             ensuring that the expectations of millions of developers and users worldwide are

             met.

                                                 ARGUMENT

             I. The AGPLv3's purpose is to create and preserve software freedom.

                    The so-called "Neo4j Sweden Software License" ("NSSL") at issue in this

             case, 3-ER-488, 488-502, incorporates and adopts the AGPL wholesale, including

             the AGPL's preamble (the "Preamble"), which sets forth the license's purpose with

             absolute clarity: "our General Public Licenses are intended guarantee your freedom

             to share and change all versions of a program to make sure it remains free

             software for all its users." See Preamble8 (II 3, 3-ER-488, 489. The Preamble



             8 Because the NSSL's preamble and AGPLv3 's preamble are identical, this Brief
             will henceforth refer to both preambles simultaneously as the "Preamble." While
             the copy of the NS SL found in the Excerpts of Record is somewhat difficult to
             parse because it reflects Plaintiffs-Appellees' removal of the Commons Clause, see
             3-ER-488, 488-502, the district court is clear that the NSSL is nothing more than
             the AGPLv3 with the addition of the Commons Clause. See l-ER-3, 5.

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             contrasts this purpose to "[t]he licenses for most software and other practical

             works," which are "designed to take away your freedom to share and change the

             works." Id.

                    The Preamble goes on to define what it means by "free software":

                    When we speak of free software, we are referring to freedom, not
                    price. Our General Public Licenses are designed to make sure that you
                    have the freedom to distribute copies of free software (and charge for
                    them if you wish), that you receive source code or can get it if you
                    want it, that you can change the software or use pieces of it in new
                    free programs, and that you know you can do these things.
             Id. (emphasis added).

                    The intent of the license could not be clearer: every licensee should have the

             freedom to use, copy, modify, and share the licensed software freely. This includes

             the freedom to charge a fee when providing the software and associated services to

             others. The freedom to charge for distribution, support, and warranty protection is

             effectuated in Section 4 of the AGPL: "You may charge any price or no price for

             each copy that you convey, and you may offer support or warranty protection for a

             fee." NSSL § 4, AGPLV3 § 4.

                    The NSSL provisions primarily at issue in this case Sections 4, 7, and

             10--are identical to the corresponding provisions of AGPLv3, GPLv3, and

             LGPLv3. Consequently, the court's interpretation of these provisions will impact

             the licensors and users of software licensed under all of these licenses.

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             II. Section 7 of the NSSL gives licensees the absolute right to remove improper

             "further restrictions," including the Commons Clause.

                    In this case, the district court moved mountains to arrive at an interpretation

             of the NSSL that preserved the interests of the Plaintiffs-Appellees and licensor,

             Neon Sweden AB ("Neo4j"). In doing so, the district court opinion ignores the

             license's plain language, its express purpose, and basic rules of contract

             interpretation    all of this to save Neon from its own catastrophic drafting.

                    The NSSL is nothing more than the AGPLv3 with a supplemental provision

             called the "Commons Clause" carelessly appended to it. The Commons Clause is

             an additional restriction, forbidden by the NSSL's own language, that purports to

             forbid licensees from charging money for copies of the covered software. Neon

             changed nothing else about the AGPLv3, malting no attempt to harmonize the

             Commons Clause and the AGPLv3. Neon thus created a self-contradicting

             agreement, because the Commons Clause purports to forbid what the NSSL

             expressly permitted: the right to sell copies of the covered software for money.

             "You [the licensee] may charge any price or no price for each copy that you

             convey."9 NSSL § 4 912, AGPLV3 § 4 912.




             9 It should be noted that this contradiction does not arise when the Commons
             Clause is used in conjunction with other FOSS licenses, such as the MIT License
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                      Section 7 of the NSSL which is identical to Section 7 of the AGPLv3

             gives licensees the unqualified right to remove improper "further restrictions"

             whenever they encounter them. NSSL § 7 (II 4, AGPLv3 § 7 (II 4. Neon could have

             drafted a license without this language, but chose not to. Yet, the district court held

             that this unqualified right was, in fact, qualified by Section 10 of the agreement,

             which forbade licensees from adding improper "further restrictions." NSSL § 10 '][

             3, AGPLv3 § 10 (II 3. The district court inferred that, because licensees could not

             add "further restrictions," the licensor was allowed to, and so Neon, as the

             licensor, was permitted to add the Commons Clause. 1-ER-3, 26-27. The district

             court therefore concluded that this inferred right of the licensor to add "further

             restrictions" had to take precedence over the explicit right of licensees to them. Id

             at 27.


                      The district court's conclusion not only disregards the contract's text and

             purpose, but California's statutory canons of contract interpretation. In so doing, it

             threatens to disrupt an entire software ecosystem founded upon on the AGPLv3

             and other GPL agreements that share the language of its Sections 7 and 10.




             and the Apache Public License, that are expressly designed to allow commercial-
             use restrictions and for which the Commons Clause was apparently designed.

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                    A. Section 7 permits licensees to remove improper "further

             restrictions."

                    Section 7 of the NSSL (which is naturally identical to Section 7 of the

             AGPL), titled "Additional Terms," governs when the NSSL may be supplemented

             with additional terms, and when a licensee is free to remove those additional terms

             from the license. See NSSL § 7, AGPLv3 § 7. After dealing with the addition and

             removal of "additional permissions" (terms that exempt licensees from certain

             conditions of the license), Section 7 sets forth a few narrow categories of

             restrictions that licensees may impose upon materials that they (the licensees) add

             to the licensed work (such as warranty disclaimers and limitations on the use of the

             licensees' trademarks). Id. The license goes on to define "[a]11 other non-

             permissive additional terms" (i.e., those not authorized by Section 7) as "further

             restrictions." Id. It authorizes licensees to remove all "further restrictions" from

             any copy of the program they receive:

                    If the Program as you received it, or any part of it, contains a notice

                    stating that it is governed by this License along with a term that is a

                    further restriction, you may remove that term.

             Id. There is no question that Commons Clause is not authorized by Section 7. The
                                                                       97
             Commons Clause thus constitutes a "further restriction.



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                    This right to remove "further restrictions" is unqualified: the licensee may

             remove all restrictions placed upon the program except those enumerated in

             Section 7 of the AGPLv3. This clause makes no distinction between restrictions

             imposed by the initial licensor and those imposed by licensees: if the restriction is

             not permitted by Section 7, it may be removed. The breadth of this right is

             emphasized by the phrase, "as you received it." It does not matter how the licensee

             found the licensed software. It could be from an obscure repository, or in a

             computing device found at a garage sale, or from the licensor itself     the right to

             remove "further restrictions" applies to them all.

                    The reason for all this is clear from the Preamble, which is the only

             statement of intent found in the NSSL, and which Neon cribbed wholesale from

             the AGPLv3. The license's central purpose is software freedom: the freedom to

             distribute copies of software, to charge for those copies, to obtain the source code

             for the software, and the right to know that "you" have these rights. "Further

             restrictions" limit freedom and work against this purpose. If the licensor could

             simply add further restrictions, it could nullify this purpose (contrary to the clear

             directions of the Preamble) with the stroke of a pen.

                    The district court reached the opposite conclusion. Its reasoning is not

             explicit, but it is clearly based on the observation that, under Section 10, "you"

             (defined as the licensee) are prohibited from adding "further restrictions",

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             therefore, the court infers, the licensor must be permitted to add "further

             restrictions." 1-ER-3, 26-27. By malting the inferential leap that the licensor's

             inferred right to add "further restrictions" is somehow absolute, the district court

             conjures an exception to Section 7's unqualified right to remove "further

             restrictions." Nothing in the text of the NSSL which Neon drafted suggests

             such an exception. Licensees may remove any "further restriction" no matter their

             source.

                    Perhaps the district court concluded that Sections 7 and 10 are hopelessly

             contradictory and that it must resolve that contradiction in favor of one or the other

             term. If so, the it makes no attempt to reconcile these two provisions, as required

             by California law: "Repugnancy in a contract must be reconciled, if possible, by

             such an interpretation as will give some effect to the repugnant clauses,

             subordinate to the general intent and purpose of the whole contract." Cal. Civ.

             Code § 1652.

                    B. Section 10 of the NSSL does not limit Section 7.

                    The district court's interpretation of Sections 7 and 10 fails to give "some

             effect" to Section 7 because it effectively reads licensees' right to remove "further

             restrictions" out of the NSSL. Section 10 already makes it illegal for a licensee to

             add a "further restriction," SO such restrictions are already void. Limiting the right

             to remove further restrictions to only those added by other licensees is thus
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             pointless: Section 10 already forbids such restrictions. NSSL § 10, AGPLv3 § 10.

             To give Section 7 "some effect," therefore, it must be interpreted as written: to

             give licensees the right to remove any "further restriction," including those added

             by the licensor. Licensors are still free to add further restrictions to the NSSL.

             Unlike those added by licensees, such restrictions are merely voidable, not void,

             and the licensors do not breach the agreement in doing so. See Yvanova v. New

             Century Mortgage Corp., 62 Cal. 4th 919, 929-930 (2016) ("A void contract is

             without legal effect... A voidable transaction, in contrast, 'is one where one or

             more parties have the power, by a manifestation of election to do so, to avoid the

             legal relations created by the contract, or by ratification of the contract to

             extinguish the power of avoidance. "').

                    McCaskey v. California State Automobile Association is both instructive and

             distinguishable. 189 Cal. App. 4th 947 (2010). In that case, the plaintiff-employees

             were subject to contracts that described their employment as "at will," but which

             also reduced their production quotas. See id. at 969-70. When they failed to meet

             their old production quotas (but meet their new ones), the defendant-employer

             fired them, pointing to the at-will provision. The court disagreed. If the at-will

             provision took precedence over the new production quotas, the new quotas would

             be read out of the employment agreement. See id. at 970. In that case, a general

             right had to be tempered by a more specific provision in order to give both

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             provisions "some effect." In this case, to give "some effect" to the conflicting

             provision, a general right must be given full effect despite the presence of a

             narrower implicit right that goes to the same subj ect matter (of "further

             restrictions"). In both cases, the key is that each seemingly "repugnant" provision
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             is given "some effect.

                    Even if there were some question about how to reconcile Section 7's right to

             remove further restrictions and Section 10's implicit right to add them, their

             reconciliation must be "subordinate to the general intent and purpose of the whole

             contract." Cal Civ. Code § 1652. In MeCaskey, the purpose of the lower production

             quotas was to induce the plaintiff-employees to continue worldng for the

             defendant-employer until retirement. 189 Cal. App. 4th at 965. Firing these

             employees before then defeated the purpose of the lower quotas. See id. Here, one

             need not look far for the NSSL's purpose because it is spelled out in the Preamble:

             "to guarantee your freedom to share and change all versions of a program--to make

             sure it remains free software for all its users." Preamble 112. It is, therefore,

             "designed to make sure that you have the freedom to distribute copies of free

             software (and charge for them if you wish)," among other things. Id. (II 3. The right

             to remove a further restriction is essential to this purpose. Indeed, "free software"

             is not "free" without this right.




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                    If this court finds that licensees' right to remove further restrictions

             ultimately cannot be reconciled with the licensor's apparent right to add them, then

             the right to remove must predominate over the right to add. "Words in a contract

             which are wholly inconsistent with its nature, or with the main intention of the

             parties, are to be rejected." Cal. Civ. Code § 1653. Again, the NSSL's nature and

             primary intention, set forth in the Preamble, is to promote software freedom.

             Preamble ']['][ 2-3. "Further restrictions" are repugnant to software freedom because

             they interfere with the incentives to adopt and share "free" (as in freedom)

             software.

                    Instead of reconciling the two provisions by reference to the Preamble, the

             District Court appealed to a copyright owner's general right to license its work as it

             sees fit. 1-ER-3, 27. Amicus does not dispute the existence of such a right, but

             nothing in the authorities cited by Neon or the District Court suggests that this

             right trumps ordinary rules of contract interpretation.

                    C. Section 7's definition of "further restriction" is to be read into

             Section 10, not the other way around.

                    The only explicit link between Sections 7 and 10 is the language in Section 7

             that defines "further restriction": "All other non-permissive additional terms

             [besides those expressly authorized] are considered 'further restrictions' within the

             meaning of section 10." NSSL § 7, AGPLv3 § 7.
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                    There is no reason to infer, as the district court seems to, that this language

             limits the definition of a "further restriction" in Section 7 to those prohibited under

             Section 10. The natural interpretation of this language is that, when Section 10

             refers to "further restrictions," it means the same as Section 7: all "non-permissive

             additional terms" besides the few categories listed as acceptable in Section 7. This

             interpretation is consistent with the way courts and congress universally use the

             phrase "within the meaning of": to mean "as that term is used in" a statute or

             agreement. See, e.g., Schindler Elevator Corp. v. U.S. ex rel. Kirk, 563 U.S. 401,

             404, 131 s. Ct. 1885, 1889, 179 L. Ed. 2d 825 (2011) ( "We must decide whether a

             federal agency's written response to a request for records under the Freedom of

             Information Act (FOIA), 5 U.S.C. § 552, constitutes a 'report' within the meaning

             of the public disclosure bar."), Ceria v. Garland, 114 F.4th 994, 1000 (9th Cir.

             2024) (immigration removal order qualifies "as a 'final order of removal' within

             the meaning of § 1252(a)(2)(C)," a statute that does not define "final order of

             removal"), Richey v. Me taxp ert LLC, 407 F. App'x 198, 199 (9th Cir. 2010)

             ("Manning argues that a smart phone is a 'computer' within the meaning of the

             non-competition agreement and that Richey is violating the terms of the

             noncompetition agreement.").

                    Read this way, this clause informs licensees that, when Section 10 prohibits

             them from adding "further restrictions" to the license, that means the term includes

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             "all non-permissive additional terms" besides those restrictions that Section 7

             permits them to include. It does not, even by implication, import any limitation

             from Section 10 into Section 7. As its title makes clear, Section 7 relates to

             "Additional Terms" in general, while Section 10 relates to "Licensing of

             Downstream Recipients." Inferring limitations on Section 7 from the scope of

             Section 10 is not only unnecessary, but complicates an otherwise straightforward

             reading of the license.

                    D. In drafting the NSSL, Neo4j voluntarily adopted the entirety of the

             AGPL, including the Preamble, and the Court should not save it from its poor

             choices.

                    The truth is that Neo4j "wrote" the NSSL but seeks salvation from the

             consequences of the language it chose. By adopting the AGPLv3 wholesale (with

             only the addition of the Commons Clause), Neon chose to license its software

             under a license agreement that is guided by the Preamble, gives licensees the right

             to remove additional restrictions, and permits licensees to sell copies of the

             software for money.

                    A licensor is free to apply contradictory and self-defeating license terms to

             its software, the courts are not bound to save it from the consequences of that

             choice. Rather, as this court has said, courts must seek to "give effect to the mutual

             intent of the parties as it existed at the time of contracting, which should be
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             inferred, if possible, solely from the written provisions of the contract, assuming

             the language is clear and explicit, and does not involve an absurdity." Ramos v.

             Amazon.com, Inc., No. 2:24-CV-00089-HDV-E, 2024 WL 4882638, at *3 (C.D.

             Cal. NOV. 25, 2024). "TO fulfill that directive, courts will look to (a) the ordinary

             and popular meaning of the terms, (b) give effect to surrounding provisions to

             avoid superfluity, (c) the contract as a whole, and (d) avoid an absurd or

             inequitable result." Id. "In cases of uncertainty not removed by canons of contract

             interpretation, the language of a contract should be interpreted most strongly

             against the party who caused the uncertainty to exist." Id (citing Int'l Bhd. of

             Teamsters, Local 396 V. NASA Servs., 957 F.3d 1038, 1042 (9th Cir. 2020)).

                    The District Court failed to consider that the Commons Clause itself

             contradicts Section 4 of the NSSL, which says, "You may charge any price or no

             price for each copy that you convey." NSSL § 4 (II 2. Unlike the interaction

             between Sections 7 and 10, this is true "repugnancy." The NSSL cannot both

             permit licensees to charge money for copies of the covered software, and also

             forbid charging money for copies of the covered software. Under California's

             canons of construction, this repugnancy must be resolved by reference to the

             NSSL's purpose, as expressed in the Preamble, to promote software freedom,

             including the right to charge money for copies: "Our General Public Licenses are

             designed to make sure that you have the freedom to distribute copies of free


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             software (and charge for them if you wish)..." Preamble (II 3. The Commons

             Clause contains no contrary statement of purpose. As between a provision that

             comports with the express intent of the NSSL and one that contradicts it, this

             repugnancy must be resolved in favor of the former. See Cal. Civ. Code § 1652,

             Epic Communications, Inc. v. Richwove Technology, Inc., 237 Cal. App. 4th 1342,

             1350-1352 (2015).

                    Neon might object that, because it added the Commons Clause to the

             AGPLv3, it intended for the Commons Clause to predominate. But licensees do

             not know Neo4j 's subj ective intent. The burden is on the drafter to prepare a

             contract free of contradiction and ambiguity, and failing that, the contract must be

             construed against the drafter. Cal. Civ. Code § 1654. Neon might also object that,

             since the Commons Clause is appended to a pre-existing license, it should be

             interpreted as predominating over the pre-existing license, the way a purchase

             order's specific terms predominate over the pre-printed terms and conditions on the

             back of the form. See Cal. Civ. Code § 1651. But the NSSL is not "specially

             drafted and prepared for [a] transaction at issue," because it applies to all who

             license the software thereunder, not any specific transaction. See Del Rey Fuel,

             LLC v. Bellingham Marine Indus., 2012 U.S. Dist. LEXIS 200997,*11-12 (C.D.

             Cal. Apr. 10, 2012) (explaining Cal. Civ. Code § 1651).




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                    By stepping in to salvage Neon 's catastrophic drafting, the district court is

             forced to adopt an interpretation that cannot be squared with the balance of the

             NSSL. As detailed above, Section 7 allows licensees to remove "further

             restrictions" regardless of who added them, and Section 4 allows licensees to

             charge a fee for distribution of the software, services, and warranty protection. To

             conclude that the NSSL cannot be read to allow licensees to toss out terms added

             by the original licensor, the district court must render these provisions inoperable.

                    E. Any ambiguity must be resolved in favor of Defendants-Appellants.

                    As argued above, the NSSL unambiguously authorizes licensees to remove

             "further restrictions" regardless of their source. But to the extent that this court

             finds any ambiguity in these terms, that ambiguity should be resolved in favor of

             the licensees.

                    Contracts are interpreted by the courts "with a view toward effectuating the

             purposes of which the contract was designed." RCA Corp. v. Hunt, 133 Cal. App.

             3d 903, 906 (1982). Courts may look to recitals such as those found in the

             Preamble to ascertain this purpose. See generally Hewlett-Packard Co. v. Oracle

             Corp., 65 Cal. App. 5th 506, 533, 280 Cal. Rptr. 3d 21, 45 (2021) (interpreting

             contracting parties' intent by reference to recitals).




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                    The express purpose of the NSSL is to "guarantee" that a program subject to

             its terms "remains free software for all its users," which among other things means

             that each licensee ("you") may "distribute copies of [the] software (and charge for

             them if you wish)." Preamble (II 3. Section 7 upholds this purpose by permitting the

             licensee to remove any restriction besides those carefully enumerated in the

             license. This ensures that a licensor cannot use the AGPLv3 against its purposes, to

             convey software that is not "free software." To hold otherwise would be to sow

             confusion amongst the countless licensees of AGPLv3 programs who depend on

             the license to do what it says on the tin.

                    The district court's interpretation of the NSSL ignores, and thereby

             undermines, the stated purpose of the license. See 1-ER-3, 26-27. By its reading,

             the licensed program not only will not "remain[] free software for all its users" it

             may never be free software to begin with. This court should not contort the text of

             this important license to preserve the interests of a single party who wielded it

             unwisely. The mishmash "Neo4J Sweden Software License" is two-faced, and that

             is Neo4j 's doing and not the Defendants-Appellants', it is Neon that must be held

             accountable for any ensuing confusion.




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             Iv. This court's prior 2022 memorandum opinion in this matter is not law
                    of the case.

                    On February 18, 2022, this Court issued a memorandum opinion on

             Defendant-Appellants' appeal of the district court's granting of a preliminary

             injunction. This opinion was later corrected on May 18, 2022. Although the

             opinion accepted the district court's interpretation of Section 7's right to remove

             "further restrictions," the opinion is not law of the case. This is because "[i]n

             general ... our decisions at the preliminary injunction phase do not constitute the

             law of the case." Ctr. for Biological Diversity v. Salazar, 706 F.3d 1085, 1090 (9th

             Cir. 2013).




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                                               CONCLUSION

                    In light of the history, purpose, and text of Sections 7 and 10 of the Neon

             Sweden Software License (NSSL), together with the applicable statutory rules of

             contract interpretation, this Court should find that licensees of the NSSL (and by

             extension the AGPLv3) have the right to remove "further restrictions," as that term

             is used in Sections 7 and 10 regardless of who purported to impose them. As a

             consequence, any of Appellees' claims dependent on the district court's contrary

             finding should be reversed, including the claims for false advertising and for

             violations of the Digital Millennium Copyright Act, 17 U.S.C. § 1201 et seq.




              Dated: January 10, 2025                    Respectfully submitted,
              St. Petersburg, FL                               s/Aaron Williamson
                                                        Aaron Williamson
                                                        Williamson Legal PLLC
                                                        Attorney for Software Freedom
                                                        Conservancy, Inc.
                                                        1421 18th Ave. N
                                                        St. Petersburg, FL 33704
                                                        +1-773-727-8363




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              St. Petersburg, FL                          Aaron Williamson
                                                          Williamson Legal PLLC
                                                          Attorney for Software Freedom
                                                          Conservancy, Inc.
                                                          1421 18th Ave. N
                                                          St. Petersburg, FL 33704
                                                          +1-773-727-8363




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